                             Case 1:14-cv-00066-ELR Document 236 Filed 07/17/19 Page 1 of 1




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

PETER MEYER,                                                    *
                                                                *
                Plaintiff,                                      *
                                                                *
      v.                                                        *                1 : 14-CV-00066-ELR
                                                                *
GWINNETT COUNTY, et al.,                                        *
                                                                *
                Defendants.                                     *
                                                                *
                                              VERDICT FORM

We the jury find in response to the following question:

      Was Peter Meyer so unsound of mind or so diminished in mental capacity for
at least twelve (12) days of the three (3) weeks immediately following his release
from jail that he was incapable of managing the ordinary affairs of his life?

           Yes

Or

           No




Foreperson (print name)                                   Foreperson (signature)                  Date·
